97 F.3d 1447
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Berlin Bryce FUTRELL, Petitioner-Appellant,v.John CARMICHAEL, Warden;  state of South Caro lina;  CharlesMolony Condon, the Attorney Gen eral of the Stateof South Carolina, Respondents-Appellees.
    No. 96-6577.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 22, 1996.Decided Sept. 5, 1996.
    
      Berlin Bryce Futrell, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, South Carolina, for Appellees.
      Before HALL, WILLIAMS, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.   Futrell v. Carmichael, No. CA-95-2102-6-18AK (D.S.C. Mar. 27, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    